               Case 2:15-cr-00164-TLN Document 101 Filed 12/13/17 Page 1 of 3



 1 PHILLIP A. TALBERT
   United States Attorney
 2 SAMUEL WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2772

 5
     Attorneys for plaintiff
 6   United States of America
 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                               CASE NO. 2:15-CR-164-TLN
11
               Plaintiff,                                    STIPULATION AND ORDER CONTINUING
12                                                           STATUS CONFERENCE FOR DEFENDANTS
                             v.                              SECUNDINO ESQUIBEL AND MOISES
13                                                           TORRES, AND EXCLUDING TIME UNDER
     SECUNDINO ESQUIBEL, ET AL.,                             THE SPEEDY TRIAL ACT
14
               Defendants.
15
                                                             Date: December 14, 2017
16                                                           Court: Hon. Troy L. Nunley
17           Whereas, the Court previously entered a Minute Order on December 5, 2017, at the
18   parties’ request vacating a status conference for defendants Secundino Esquibel and Moises
19   Torres set on December 7, 2017, and rescheduling the status conference on December 14, 2017,
20           It is hereby stipulated and agreed by and between plaintiff United States of America, on
21   the one hand, and defendants Esquibel and Torres, on the other hand, through their respective
22   undersigned attorneys, that the previously set December 7, 2017, at 9:30 a.m., status conference
23   hearing be continued by the Court to December 14, 2017, at 9:30 a.m., to: (1) allow the
24   undersigned prosecutor, who was out-of-state for a training conference at the time of the
25   December 7, 2017, status conference, to attend and handle the status conference in this case; and
26   (2) allow defense counsel, Michael Hingle, Esq., additional time to explain and review the case with
27   his client and so that the client understands the consequences of accepting the plea offer versus the

28                                                          1
     STIPULATION & ORDER CONTINUING STATUS CONFERENCE
     AND EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
               Case 2:15-cr-00164-TLN Document 101 Filed 12/13/17 Page 2 of 3



 1   possible risks and ramifications of proceeding to trial. From Mr. Hingle’s perspective, additional

 2   time is required to accomplish his obligation to his client in respect to a negotiated plea agreement.

 3           The parties agree and request the Court find that: (1) the failure to grant this requested

 4   continuance would deny the United States continuity of counsel and defense counsel, Mr. Hingle,

 5   reasonable time necessary for effective preparation, taking into account the exercise of due diligence;

 6   and (2) the ends of justice served by continuing the case as requested outweigh the best interests of

 7   the public and the defendants in a speedy trial.

 8           The parties further agree and request that the Court order for the purpose of computing time

 9   under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which the trial of this case must

10   commence, the time period from the date of this stipulation, December 12, 2017, to and including the

11   December 14, 2017, status conference hearing, shall be excluded pursuant to 18 U.S.C.

12   § 3161(h)(7)(A) and B(iv) and Local Code T4 to allow the United States continuity of counsel and

13   defense counsel, Mr. Hingle, reasonable time necessary for effective preparation.

14           Dated: December 12, 2017                         /s/ Michael Hingle
15                                                            ___________________________
                                                              MICHAEL HINGLE
16                                                            Attorney for defendant
                                                              SECUNDINO ESQUIBEL
17                                                            (Per email authorization)
18
             Dated: December 12, 2017                         /s/ Todd Leras
19                                                            ___________________________
                                                              TODD LERAS
20                                                            Attorney for defendant
                                                              MOISES TORRES
21                                                            (Per email authorization)
22
             Dated: December 12, 2017                         PHILLIP A. TALBERT
23                                                            United States Attorney

24                                                            /s/ Samuel Wong
                                                        By:   _______________________
25                                                            SAMUEL WONG
                                                              Assistant United States Attorney
26

27

28

     STIPULATION & ORDER CONTINUING STATUS
     CONFERENCE AND EXCLUDING TIME                            2
               Case 2:15-cr-00164-TLN Document 101 Filed 12/13/17 Page 3 of 3


                                                     ORDER
 1

 2           The Court, having received, read, and considered the stipulation of the parties, and good
 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its Order. The
 4   Court reaffirms its previous ORDER that the presently set December 7, 2017, at 9:30 a.m., status
 5   conference hearing for defendants Secundino Esquibel and Moises Torres shall be continued to
 6   December 14, 2017, at 9:30 a.m.
 7           Based on the representations of the parties in their stipulation, the Court finds that: (1)
 8   the failure to grant this requested continuance would deny the United States continuity of counsel and
 9   defense counsel, Michael Hingle, Esq., reasonable time necessary for effective preparation, taking
10   into account the exercise of due diligence; and (2) the ends of justice served by continuing the case as
11   requested outweigh the best interests of the public and the defendants in a speedy trial
12           The Court hereby orders that for the purpose of computing time under the Speedy Trial Act,
13   18 U.S.C. § 3161, et seq., within which the trial of this case must commence, the time period from
14   the date of the parties’ stipulation, December 12, 2017, to and including the December 14, 2017,
15   status conference hearing, shall be excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and B(iv) and
16   Local Code T4 to allow the United States continuity of counsel and defense counsel, Mr. Hingle,
17   reasonable time necessary for effective preparation.
18           IT IS SO ORDERED.
19

20
     Dated: December 13, 2017
                                                                   Troy L. Nunley
21                                                                 United States District Judge

22

23

24

25

26

27

28

     STIPULATION & ORDER CONTINUING STATUS
     CONFERENCE AND EXCLUDING TIME                          3
